

People v Philoctete (2025 NY Slip Op 50764(U))



[*1]


People v Philoctete (Adrien)


2025 NY Slip Op 50764(U)


Decided on May 15, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 15, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570145/19

The People of the State of New York, Respondent,
againstAdrien Philoctete, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Heidi C. Cesare, J.), rendered January 24, 2019, after a jury trial, convicting him of driving while impaired, and imposing sentence.




Per Curiam.
Judgment of conviction (Heidi C. Cesare, J.), rendered January 24, 2019, affirmed.
The verdict convicting defendant of driving while ability impaired by alcohol (see Vehicle and Traffic Law § 1192 [1]) was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations, including its assessment of police testimony that defendant's vehicle was speeding and swerving between lanes at approximately 1:00 a.m., and that defendant exhibited visible signs of intoxication. Defendant also admitted that he had been drinking and refused to take a breath test (see People v Martinez, 186 AD3d 1165, 1166 [2020]). Any discrepancies and inconsistencies in the arresting officers' testimony or challenges to their credibility based on their individual observations of defendant's condition were fully explored by defense counsel on cross-examination and we find no basis to disturb the jury's resolution of the issues (see People v Jones, 79 AD3d 1073, 1073-1074 [2010], lv denied 17 NY3d 954 [2011]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 15, 2025







